                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )      Criminal No. 3:11-00082
                                                   )      Judge Trauger
                                                   )
[1] TRAVIS LYNN GENTRY,                            )
[2] BETTY KATHERINE GENTRY,                        )
[3] FRANK DWAYNE RANDOLPH, and                     )
[7] PATRICK DEWAYNE SMITH                          )
[16] TODD ARKALUS BRYANT                           )

                                          ORDER

       A hearing was held on July 9, 2012 on the various motions to suppress the wiretap

evidence. It is hereby ORDERED that the defense shall file a supplemental memorandum on

the minimization issue by Monday, July 16, 2012. The government may, but is not required to,

respond by Friday, July 20, 2012.

       The government made an oral motion to sever defendant Todd Arkalus Bryant from this

case, given his continuing fugitive status. That motion is hereby GRANTED, and defendant

Bryant is SEVERED.

       Given the return of the Second Superseding Indictment on July 5, 2012, it is hereby

ORDERED that any motions to continue the present trial date of August 7, 2012 shall be filed

by 12:00 noon on Wednesday, July 11, 2012.

       It is so ORDERED.

       ENTER this 9th day of July 2012.


                                                   ________________________________
                                                         ALETA A. TRAUGER
                                                           U.S. District Judge




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